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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

EMERGENCY CARE SERVICES                    :
OF PENNSYLVANIA, P.C., et al.,             :
                                           :   NO. 1:19-CV-01195-SHR
                    Plaintiffs             :
                                           :   Rambo, J.
              v.                           :
                                           :
UNITEDHEALTH GROUP, INC.,                  :
et al.;                                    :
                                           :
                    Defendants.            :

           NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO
           FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i)

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs

Emergency Care Services of Pennsylvania, P.C. and Emergency Physician

Associates of Pennsylvania, P.C. hereby voluntarily dismiss this action without

prejudice. Plaintiffs request that the Clerk of Court close this case and deny as moot

all pending motions.

Dated: June 11, 2020                   Respectfully submitted,


                                         Justin C. Fineberg
                                       /s/
                                       Alan D. Lash
                                       FL Bar #510904 (pro hac vice)
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                           Counsel for Plaintiffs Emergency Care
                           Services of Pennsylvania, P.C. and
                           Emergency Physician Associates of
                           Pennsylvania, P.C.




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                        CERTIFICATE OF SERVICE

      I, Justin C. Fineberg, hereby certify that on June 11, 2020, I served the

foregoing NOTICE OF VOLUNTARY DISMISSAL upon all counsel of record via

this Court’s CM/ECF system, which services satisfies the requirements of the

Federal Rules of Civil Procedure.


                                        /s/   Justin C. Fineberg
                                                Justin C. Fineberg

                                         Counsel for Plaintiffs, Emergency Care
                                         Services of Pennsylvania, P.C. and
                                         Emergency Physician Associates of
                                         Pennsylvania, P.C.




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